 Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.1 Page 1 of 14



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     Attorneys for Plaintiff
 7   Lori King
 8                        UNITED STATES DISTRICT COURT

 9                   SOUTHERN DISTRICT OF CALIFORNIA
10
     LORI KING,                           Civil Action No. '15CV2157 L   BLM
11

12                       Plaintiff,       COMPLAINT FOR:
13   vs.                                        VIOLATIONS OF THE
                                                 FEDERAL TRUTH IN
14                                               LENDING ACT AND
     WHEELS FINANCIAL GROUP,                     REGULATION Z;
15   LLC . doing business as                    VIOLATIONS OF
     LOANMART, a California                      CALIFORNIA ROSENTHAL
16   corporation; CHECK CASHIERS                 FAIR DEBT COLLECTION
     OF SOUTHERN CALIFORNIA,                     PRACTICES ACT;
17   INC. doing business as USA
     CHECKS CASHED, a California                DECLARATORY RELIEF
18   corporation; DOES 1 THROUGH                 FOR VIOLATIONS OF
     10.                                         CALIFORNIA FINANCIAL
19                                               CODE §§22000, et seq.;
20                       Defendant(s).          VIOLATIONS OF
                                                 CALIFORNIA COMMERCIAL
21                                               CODE §§9601, et seq.; and,
                                                VIOLATIONS OF BUSINESS
22                                               AND PROFESSIONS CODE
                                                 §§17200, et seq.
23

24                                        Jury Trial Demanded
25

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                                                                         COMPLAINT
 Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.2 Page 2 of 14



 1         Plaintiff Lori King complains and alleges against Defendant Wheels
 2   Financial Group, LLC doing business as LoanMart, California corporation
 3   (“Defendant LoanMart”); Defendant Check Cashiers of Southern California, Inc.
 4   doing business as USA Checks Cashed, a California corporation (“Defendant USA
 5   Checks Cashed”); and, Does 1 through 10 (collectively, “Defendants”) as follows:
 6                                    INTRODUCTION
 7         1.     Defendants charge extreme amounts of interest—in this case
 8   92.45%—on auto title loans to families. While the interest rate is painful and
 9   injurious enough, Defendants willfully violated federal and state consumer laws
10   designed to protect people like Ms. King. Defendants do not provide accurate
11   disclosures on the loans themselves and employ deceitful and unlawful means to
12   attempt to collect purported debts. Here, Defendants charged Ms. King for fees in
13   excess of those charged by public officials and included hidden finance charges.
14   Ms. King has disputed the amounts, but Defendants continue to pursue Ms. King
15   for amounts to which they were not entitled and prohibited from collecting.      These
16   bad actions have caused Ms. King to suffer damages.
17                                        PARTIES
18         2.     Ms. King is an individual and, at all times mentioned in this
19   Complaint, a resident of San Diego County, California.
20         3.     Plaintiff is informed and believes that Defendant LoanMart is a
21   California corporation was engaging in and transacting in business in California at
22   all relevant times in this Complaint. The principal business office is located at
23   1900 S. State College Blvd., Suite 300, Anaheim, California 92806.
24         4.     Plaintiff is informed and believes that Defendant USA Checks Cashed
25   is a California corporation engaging in and transacting business in California during
26   all relevant time stated in this Complaint. On information and belief, Defendant
27   USA Checks Cashed’s principal place of business is 790 Estate Drive, Suite 100,
28   Deerfield, IL 60015.
                                              -2-
                                                                                   COMPLAINT
 Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.3 Page 3 of 14



 1           5.      The true names and capacities, whether individual, corporate,
 2   association, or otherwise of Defendants named herein as DOES 1 through 10 are
 3   unknown to Plaintiff who therefore sues said Defendants by such fictitious names.
 4   Plaintiff will seek leave to amend this Complaint to allege their true names and
 5   capacities when the same have been ascertained. Plaintiff is informed and believes
 6   that each of the fictitiously named Defendants and/or their agents and employees
 7   are responsible in some manner for the events and happenings alleged in this
 8   Complaint, and proximately caused Plaintiff’s damages.
 9           6.      At all times herein mentioned, upon information and belief,
10   Defendants were the agents, servants, and/or employees of the Defendants, and
11   Defendants’ acts shall mean that Defendants did the acts alleged through their
12   officers, directors, managers, agents, representatives and/or employees while they
13   were acting within the course and scope of said agency, authority, and employment.
14           7.      At all relevant times, Plaintiff is informed and believes and, based
15   thereon, alleges that Defendants regularly, in the normal and ordinary course of
16   business, attempt to collect and collects debts on behalf of itself and/or others.
17           8.      On information and belief, Defendants are California licensed financial
18   institutions.
19                               JURISDICTION AND VENUE
20           9.      This Court has original jurisdiction pursuant to Title 15 of the United
21   States Code sections 1692, et seq., the federal Fair Debt Collections Practices Act,
22   and Title 28 of the United States Code section 1331. Further, this Court has
23   supplemental jurisdiction pursuant to Title 28 of the United States Code section
24   1367.
25           10.     Venue is proper in the United States District Court, Southern District
26   of California because at least one of the defendants resides in this District and a
27   substantial part of the acts, events, and/or omissions giving rise to the claims
28   occurred within this District.
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                                                                                     COMPLAINT
 Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.4 Page 4 of 14



 1                               FACTUAL ALLEGATIONS
 2         11.      Ms. King called LoanMart after seeing its television advertisement.
 3   She applied for the automobile title loan over the telephone with Defendant
 4   LoanMart.
 5         12.      On information and belief, Defendant LoanMart was acting as a broker
 6   in this transaction.
 7         13.      Once approving Ms. King for the loan, Defendant LoanMart then
 8   instructed Ms. King to go to Defendant USA Checks Cashed, located at 4913
 9   Convoy Street, San Diego, California 92111.
10         14.      On or around September 26, 2014, Plaintiff entered in to a Promissory
11   Note and Disclosure Statement (“Agreement”) with Defendant USA Checks
12   Cashed.
13         15.      On information and belief, the loan was then assigned to Defendant
14   LoanMart.
15         16.      Pursuant to the Agreement, Ms. King granted Defendants a security
16   interest in her vehicle, a 2001 Toyota Highlander.
17         17.      The Agreement to borrow money was for primary use as personal,
18   family or household purposes.
19         18.      The Agreement contained numerous inaccurate and misleading
20   disclosures.
21         19.      The Agreement, in the section titled “Itemization of the Amount
22   Financed,” indicates Defendants loaned Ms. King $3,284.00.
23         20.      The Agreement also lists a DMV Lien Fee of $19.00, DMV
24   Registration Fees of $125.00, and a Prepaid Finance Charge of $75.00.
25         21.      On information and belief, the amounts charged for DMV registration
26   fees are inaccurate and misleading.
27         22.      The Agreement does not state the amount for the registration fees was
28   estimated.
                                               -4-
                                                                                   COMPLAINT
 Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.5 Page 5 of 14



 1         23.      On information and belief, Defendants included hidden charges in the
 2   Agreement for payments to third parties that were not disclosed in the Agreement.
 3         24.      Defendants knew or should have known these disclosures were false at
 4   the time they were made.
 5         25.      Ms. King relied on Defendants’ representations regarding the
 6   disclosures.
 7         26.      Ms. King has suffered damages as a direct and proximate result of
 8   these false representations.
 9         27.      The Agreement contains confusing, misleading and inaccurate
10   disclosures related to the annual percentage rate (“APR”). The Agreement listed
11   the annual percentage rate (“APR”) as 92.45 percent. This APR is off by more than
12   .125 percent, the permissible range of error under the federal Truth in Lending Act
13   and Regulation Z.
14         28.      The amount financed is disclosed as $3,428.00. On information and
15   belief, the Agreement inaccurately disclosed the amount of the amount financed.
16         29.      On information and belief the finance charge is likewise inaccurate
17   and misleading.
18         30.      On information and belief, these false disclosures are a pattern and
19   practice of Defendants.
20         31.      Ms. King made monthly payments of $283.72 a month, for
21   approximately 6 months.
22         32.      Defendants repossessed the vehicle.
23         33.      On information and belief, the repossession was unreasonable and
24   unnecessary.
25         34.      The repossession agent pounded on her home door around 3:00 a.m.
26   demanding keys to her vehicle. The repossession agent was so aggressive, the
27   security guard for the building had to intervene. The security guard told the
28   repossession agent, he was acting illegally. When she refused to provide the keys,
                                                -5-
                                                                                   COMPLAINT
 Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.6 Page 6 of 14



 1   the repossession agent lifted the hood and started disconnecting wires and
 2   damaging the vehicle. To get him to stop damaging the vehicle, she gave him the
 3   keys.
 4           35.   On information and belief, the amounts demanded for the repossession
 5   were excessive and unreasonable.
 6           36.   On or around July 30, 2015, Ms. King disputed the alleged amounts
 7   owed with Defendant LoanMart’s agents “Gus,” “Mannie,” “Jamie,” “Walter,” and
 8   “Jefferson.” After about 7 transfers and more than an hour on the telephone waiting
 9   for Defendant LoanMart to investigate and review the file, Ms. King was told they
10   would have to follow up with accounting.
11           37.   Ms. King received no further communication regarding her dispute,
12   but rather received a dunning letter, dated August 5, 2015, demanding payment of
13   $1,669.60. This amount Ms. King did not owe and was inaccurate and misleading.
14           38.   Defendants mailed a notice of intent to sell the vehicle to Ms. King,
15   dated on August 10, 2015, but mailed on August 11, 2015.
16           39.   In the notice of intent to sell the vehicle, the amounts to reinstate the
17   Agreement and redeem the vehicle are inaccurate and misleading.
18           40.   On or around August 11, 2015, Defendants sent Ms. King a billing
19   statement seeking amounts that Ms. King did not owe. In the billing statement,
20   Defendants demanded $1,953.32 by August 26, 2015. On information and belief,
21   this amount is inaccurate and misleading.
22           41.   On information and belief, Defendants are inaccurately reporting the
23   amount of the debt to the credit reporting agencies and have not reported that the
24   debt is disputed.
25           42.   Defendants continue the unfair and deceptive business practices
26   detailed herein.
27   /////
28   /////
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                                                                                     COMPLAINT
 Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.7 Page 7 of 14



 1         43.    On information and belief, unless the Defendants are enjoined from the
 2   unfair, unlawful, and deceptive practices detailed herein, Defendants will continue
 3   to engage in these bad actions.
 4         44.    Defendants’ actions described herein are willful and knowing.
 5         45.    Plaintiff has suffered damages, including injury in fact and money
 6   damages, as a direct and proximate result of Defendants’ actions.
 7                               FIRST CAUSE OF ACTION
 8    Violations of the Federal Truth in Lending Act and Regulation Z Against All
 9                                         Defendants
10         46.    Plaintiff repeats and realleges the allegations in paragraphs 1 through
11   45 of the Complaint as if stated fully herein.
12         47.    Defendants have violated the federal Truth in Lending Act and
13   Regulation Z, specifically Title 12 of the Code of federal Regulations section
14   226.17(c)(1) by failing to accurately disclose the terms of the legal obligations
15   between Ms. King and Defendants.
16         48.    On information and belief, Defendants have violated the federal Truth
17   in Lending Act and Regulation Z, specifically Title 12 of the Code of federal
18   Regulations section 226.17(c)(2) by failing to provide accurate information relating
19   to the amount of the registration fees reasonably available to Defendants and failing
20   to state clearly that the disclosure is an estimate.
21         49.    Defendants have violated the federal Truth in Lending Act and
22   Regulation Z, specifically Title 12 of the Code of federal Regulations section
23   226.18(b) because it failed to accurately disclose the amount financed.
24         50.    Defendants have violated the federal Truth in Lending Act and
25   Regulation Z, specifically Title 12 of the Code of federal Regulations section
26   226.18(c), because it failed to properly itemize the amount financed.
27         51.    Defendants have violated the federal Truth in Lending Act and
28   Regulation Z, specifically Title 12 of the Code of federal Regulations section
                                                -7-
                                                                                   COMPLAINT
 Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.8 Page 8 of 14



 1   226.18(d), because it failed to accurately disclose the finance charge. The
 2   disclosure exceed the $10.00 permissible rate of error. On information and belief,
 3   there were undisclosed hidden finance charges.
 4          52.     On information and belief, the annual percentage rate is inaccurate.
 5   Defendants have violated the federal Truth in Lending Act and Regulation Z by
 6   failing to accurately disclose the annual percentage rate in violation of Title 12 of
 7   the Code of Federal Regulations sections 226.18(e) and 226.22. On information and
 8   belief, annual percentage rate is off by more than one eighth of one percent.
 9          53.     On information and belief, Defendants have violated the federal Truth
10   in Lending Act and Regulation Z by failing to accurately disclose the finance
11   charge and by including hidden finance charges.
12          54.     Plaintiff has suffered damages as a direct and proximate result of these
13   violations.
14                              SECOND CAUSE OF ACTION
15      Violations of the California Rosenthal Fair Debt Collection Practices Act,
16          California Civil Code sections 1788, et seq. Against All Defendants
17          55.     Plaintiff repeats and realleges the allegations in paragraphs 1 through
18   54 of the Complaint as if stated fully herein.
19          56.     On information and belief, Defendants collects debts, either on behalf
20   of itself or others, in the regular and ordinary course of business.
21          57.     Defendants violated the California Rosenthal Fair Debt Collection
22   Practices Act, which regulates the collection of debts.
23          58.     Defendants violated Civil Code section 1788.17 by violating 15 United
24   States Code section 1692e(2)(A) by making a false representation of the amount of
25   the debt in the collection of the aforementioned debt.
26          59.     Defendants violated Civil Code section 1788.17 by violating 15 United
27   States Code section 1692e(8) by communicating credit information which is known
28   to be false.
                                                -8-
                                                                                    COMPLAINT
 Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.9 Page 9 of 14



 1         60.    Defendants violated Civil Code section 1788.17 by violating 15 United
 2   States Code section 1692e(8) by failing to communicate that this purported debt is
 3   disputed to the credit reporting agencies.
 4         61.    Defendants violated Civil Code section 1788.17 by violating 15 United
 5   States Code section 1692e(2)(10) by using a false and deceptive means to collect or
 6   attempt to collect the debt.
 7         62.    Defendants violated Civil Code section 1788.17 by violating 15 United
 8   States Code section 1692f by asserting the right to collect an amount that it is not
 9   entitled to and is prohibited from collecting by the law.
10         63.    Defendants have not corrected these misrepresentations and violations.
11         64.    Defendants continue to engage in these unfair and deceptive business
12   practices and are likely to continue to engage in doing so unless enjoined from
13   these bad acts by this Court.
14         65.    Defendants’ actions have directly and proximately caused Plaintiff’
15   damages.
16                              THIRD CAUSE OF ACTION
17     Declaratory Relief Pursuant to California Financial Code sections 22000, et
18                            seq. Against Defendant LoanMart
19         66.    Plaintiff repeats and realleges the allegations in paragraphs 1 through
20   65 of the Complaint as if stated fully herein.
21         67.    California Financial Code sections 22000, et seq. regulate the
22   transaction at issue because Defendant Finance Lender is a lender licensed with the
23   California Department of Financial Institutions.
24         68.    California Financial Code section 22346 provides that any licensee
25   who violates, among others, the federal Truth in Lending Act and Regulation Z
26   violates the division.
27         69.    The Truth in Lending Act and Regulation Z regulate consumer credit
28   financing.
                                                  -9-
                                                                                   COMPLAINT
Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.10 Page 10 of 14



 1           70.   Pursuant to TILA and its related regulations, a loan agreement must
 2   clearly and accurately disclose the amount financed, the finance charge, and the
 3   total of payments.
 4           71.   On information and belief, Defendants have violated the federal Truth
 5   in Lending Act and Regulation Z by, among other, the following acts:
 6           72.   Defendants charged a hidden finance charge; and,
 7           73.   Defendants disclosed inaccurate and misleading amounts in the
 8   itemization of the amount financed, including but not limited to the registration
 9   fees.
10           74.   Defendants' misrepresentations are violations of the federal Truth in
11   Lending Act and Regulation Z and, in turn, violations of California Financial Code
12   section 22346.
13           75.   On information and belief, the hidden finance charge was
14   impermissible and the amounts charged were improper and not permitted.
15           76.   Defendants failed to correct the inaccurate and unlawful disclosures.
16           77.   Plaintiff has suffered damages as a direct and proximate result of
17   Defendants' actions.
18           78.   The issue is in actual controversy as Ms. King has cancelled the
19   Agreement, Defendants repossessed the vehicle, and on information and belief,
20   have sold the vehicle without providing proper notice. Defendants continue to
21   attempt to collect the full balance of the debt from Ms. King.
22                             FOURTH CAUSE OF ACTION
23     Violations of the California Commercial Code sections 9601, et seq. Against
24                                   Defendant LoanMart
25           79.   Plaintiff repeats and realleges the allegations in paragraphs 1 through
26   78 of the Complaint as if stated fully herein.
27   /////
28   /////
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                                                                                   COMPLAINT
Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.11 Page 11 of 14



 1         80.      California Commercial Code sections 9601, et seq. govern, in
 2   conjunction with the terms of the Agreement, the respective rights and obligations
 3   of the secured party and the debtor in the event of a default.
 4         81.      Defendant LoanMart committed the following violations of California
 5   Commercial Code sections 9601, et seq.:
 6                Repossessing the car in an unreasonable and unnecessary manner;
 7                Charging unreasonable charges for repossession;
 8                Violating Commercial Code section 9613 for stating seriously
 9                  misleading amounts owed in the notice of sale;
10                Conducting the collection and disposition of the car in an unreasonable
11                  and unnecessary manner;
12                Charging repossession fees that are unreasonable and unnecessary;
13                  and,
14                Violating Commercial Code section 9616 by failing to send Ms. King
15                  an explanation of the deficiency balance.
16         82.      Plaintiff suffered damages as a direct and proximate result of the
17   Defendant LoanMart’s violations of these statutes.
18                                FIFTH CAUSE OF ACTION
19                         Conversion Against All Defendant LoanMart
20         83.      Plaintiff repeats and realleges the allegations in paragraphs 1 through
21   82 of the Complaint as if stated fully herein.
22         84.      Conversion occurs where one party wrongfully exerts dominion over
23   the personal property of another.
24         85.      California Civil Code sections 2983 and 2983.1 allow a buyer to
25   cancel the contract where there has been a violation of California Civil Code
26   section 2983(a).
27         86.      Ms. King had rights to the car, however, Defendant LoanMart has
28   wrongfully exercised dominion over the vehicle.
                                                -11-
                                                                                    COMPLAINT
Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.12 Page 12 of 14



 1         87.    Defendants failed to provide a valid and accurate notice of intent to
 2   sell the car before auctioning the vehicle.
 3         88.    The fair market value of the vehicle is a sum certain.
 4         89.    As a direct and proximate result of Defendants' actions, Ms. King has
 5   suffered damages.
 6                              SIXTH CAUSE OF ACTION
 7   Violations of California Business and Professions Code Sections 17200, et seq.
 8                                    Against Defendants
 9         90.    Plaintiff repeats and realleges the allegations in paragraphs 1 through
10   89 of the Complaint as if stated fully herein.
11         91.    California Business and Professions Code section 17200, et seq.
12   prohibits unfair, unlawful, and fraudulent business practices.
13         92.    Defendants have engaged in unfair and unlawful competition as
14   defined by the Business and Professions Code section 17200.
15         93.    Defendants’ acts and practices as alleged herein are unfair because the
16   utility of the conduct is outweighed by the gravity of the harm it causes.
17         94.    Further, Defendants’ conduct is unfair because it offends established
18   public policy or is immoral, unethical, oppressive, unscrupulous, and substantially
19   injurious to consumers. And, as detailed above and below, Defendants’ conduct
20   violates consumer laws, including the federal Truth in Lending Act and Regulation
21   Z; the California Financial Code sections 22000, et seq.; and, the Rosenthal Fair
22   Debt Collection Practices Act and violates the spirit of these statutes; and otherwise
23   significantly threatens or harms consumers.
24         95.    Defendants’ conduct has caused substantial injury, which was not
25   reasonably avoidable by Plaintiff, and is not outweighed by countervailing benefits
26   to consumers or to competition.
27         96.    Defendants’ actions constitute unlawful competition because it
28   engaged in the following acts:
                                              -12-
                                                                                  COMPLAINT
Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.13 Page 13 of 14



 1         (a)   Violating California Commercial Code sections 9601, et seq.;
 2         (b)   Violating the federal Truth in Lending Act and Regulation Z; and,
 3         (c)   Violating the California Rosenthal Fair Debt Collection Practices Act.
 4         97.   Plaintiff suffered injury in fact and monetary damages as a direct and
 5   proximate result of Defendants’ actions.
 6                                PRAYER FOR RELIEF
 7         WHEREFORE, Plaintiff demands judgment against Defendants as follows:
 8         1.    Damages in an amount to be determined at trial;
 9         2.    Statutory damages against Defendant LoanMart in an amount of
10   $1,000.00 for violations of Rosenthal Fair Debt Collections Practices Act in
11   accordance with California Civil Code section 1788.30(b);
12         3.    Statutory damages against Defendant LoanMart for $500.00 for
13   violations USA Checks Cashed in an amount of $1,000.00 for violations of
14   Rosenthal Fair Debt Collections Practices Act in accordance with California Civil
15   Code section 1788.30(b);
16         4.    Statutory damages against Defendant USA Checks Cashed in an
17   amount of $1,000.00 for violations of federal Fair Debt Collections Practices Act;
18         5.    Pursuant to California Business and Professions Code section 17203,
19   that Defendants be enjoined from engaging in the unfair, unlawful, and deceptive
20   business practices described herein;
21         6.    Interest, if applicable;
22         7.    Costs;
23         8.    Attorney’s fees; and,
24         9.    Any other and further relief that the court considers proper.
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                                                                                 COMPLAINT
Case 3:15-cv-02157-L-BLM Document 1 Filed 09/25/15 PageID.14 Page 14 of 14



 1
     Dated: September 25, 2015
 2                                     Respectfully submitted by,
 3

 4                                        /s/ Alysson Snow
 5                                        Alysson Snow (SBN 225185)
 6                                        Joe Villaseñor (SBN 265703)
                                          Attorneys for Plaintiff
 7                                        Lori King
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